902 F.2d 1564Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Leonard FLEEGLE, Petitioner-Appellant,v.Jon P. GALLEY, Warden;  Attorney General of the State ofMaryland, Defendants-Appellees.
    No. 89-6747.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 13, 1989.Decided April 26, 1990.Rehearing and Rehearing In Banc Denied May 22, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Joseph C. Howard, District Judge.  (C/A No. 89-164-JH)
      Leonard Fleegle, appellant pro se.
      John Joseph Curran, Jr., Attorney General, Gwynn X. Kinsey, Jr., Assistant Attorney General, for appellees.
      D.Md.
      AFFIRMED.
      Before WIDENER, K.K. HALL and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Leonard Fleegle appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Fleegle v. Galley, C/A No. 89-164-JH (D.Md. June 27, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    